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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Heather Conrad
                                    Plaintiff,
v.                                                      Case No.: 1:18−cv−01583
                                                        Honorable Marvin E. Aspen
Orland School District 135
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 18, 2018:


       MINUTE entry before the Honorable Marvin E. Aspen: Status hearing of
7/19/2018 is reset for 8/30/2018 at 10:30 AM. Parties will exchange Rule 26(a)(1)
disclosures by 8/2/2018. Fact discovery will close on 6/28/2019. These are final
dates.Mailed notice(mad, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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